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                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                          DOC #: ____________________
                                                                   DATE FILED: 1/27/2021

              -against-
                                                                              21 Cr. 39 (AT)
OLAJIDE OMASANYA
                                                                                 ORDER
                               Defendant.
ANALISA TORRES, District Judge:

        The Court will hold an initial conference in this action on February 2, 2021, at 2:00
p.m., using the Court’s Skype for Business platform. See In re Coronavirus/Covid-19
Pandemic, 20 Misc. 176, ECF No. 4 (S.D.N.Y. Dec. 18, 2020) (finding that the COVID-19
pandemic “make[s] it increasingly necessary for judges in this District to conduct proceedings
remotely, by videoconference or other means . . . .”). Chambers will provide the parties with
instructions on how to appear via video.

        To optimize the quality of the video feed, only the Court, Defendant, defense counsel,
and counsel for the Government will appear by video for the proceeding; all others may
participate by telephone. Co-counsel, members of the press, and the public may access the audio
feed of the conference by calling (917) 933-2166 at the time of the hearing, and entering access
code 253531023.

       SO ORDERED.

Dated: January 27, 2021
       New York, New York
